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UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF NEW YORK

   X ---------------------------------------------------- X
   JLM COUTURE, INC,
                                                              Case No.: 20 CV 10575-LTS
                                     Plaintiff,
                                                              ORDER TO SHOW CAUSE FOR
                              v.                              PRELIMINARY INJUNCTION
                                                              AND TEMPORARY
                                                              RESTRAINING ORDER
   HAYLEY PAIGE GUTMAN,

                                     Defendant.
   X ---------------------------------------------------- X

          Upon the motion for a temporary restraining order and preliminary injunction supported

 by the Declaration of Joseph L. Murphy, sworn to on the 14th day of December, 2020, the

 Declaration of Svetlana Gryazeva, sworn to on the 13th day of December, 2020, the Declaration

 of Brittany Noe, sworn to on the 11th day of December, 2020, and the declaration of Sarah M.

 Matz, Esq. sworn to on the 15th day of December, 2020, together with the exhibits annexed thereto,

 the memorandum of law of Plaintiff JLM Couture, Inc. (“JLM” or “Plaintiff”), and the pleadings

 herein, and good and sufficient cause appearing therefore, and the arguments of counsel heard on

 December 16, 2020, it is hereby:

          ORDERED, that the above named defendant, Hayley Paige Gutman (“Gutman”) show

 cause in a hearing by remote means to be specified, on January 29, 2021, at 9:30 a.m., or as soon

 thereafter as counsel may be heard, why an order should not be issued pursuant to Rule 65 of the

 Federal Rules of Civil Procedure as follows:

       during the pendency of this action, enjoining Defendant, along with her officers, agents,

       servants, employees, and attorneys and all other persons who are in active concert or

       participation with them, from taking any of the following actions:

          A.
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            (i) from making any changes to any of the social media accounts listed in Exhibit 1

         (the “JLM HP Social Media Accounts”), including but not limited to changing the name of

         the handles on the accounts, posting any new content thereto and/or deleting or altering

         any content located therein, from tagging any other posts, users or accounts, transferring

         any such accounts from Defendant to any other person except to JLM, or communicating

         with third parties through same for commercial purposes, without the express written

         permission of Plaintiff’s chief executive officer, Joseph L. Murphy; and

            (ii) from utilizing or taking any action to gain control over any of the JLM HP Social

         Media Accounts, without the express written permission of Plaintiff’s chief executive

         officer, Joseph L. Murphy; and

            (iii) from taking any action that breaches JLM’s Employment Agreement with

         Defendant, dated July 13, 2011, together with the amendments and extensions thereto (the

         “Employment Agreement”), specifically including but not limited to enjoining Defendant

         from using “Hayley”, “Paige”, “Hayley Page Gutman”, “Hayley Gutman”, “Hayley Page”

         or any derivative thereof, including misshayleypaige (collectively the “Designer’s Name”),

         trademarks in the Designer’s Names including but not limited to the trademarks identified

         on Exhibit 2 (the “Trademarks”), or any confusingly similar marks or names in trade or

         commerce, without the express written permission of Plaintiff’s chief executive officer,

         Joseph L. Murphy; and

            (iv) using any of the Designer’s Names, Trademarks or any confusingly similar term to

         endorse, advertise or promote the products and/or services of herself or others directly or




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            indirectly, including on social media and/or in television or media appearances, without

            the express written permission of Plaintiff’s chief executive officer, Joseph L. Murphy; and

                 (v) from using, or authorizing third parties to use, the Designer’s Names, Trademarks

            or any confusingly similar term, without the express written permission of Plaintiff’s chief

            executive officer, Joseph L. Murphy; and

            B.      ordering that within 24 hours of this order and during the pendency of this action,

                    Defendant shall deliver to JLM’s attorneys the current login credentials, including

                    the current username and password for the Main IG Account, the Pinterest account

                    and the TikTok account with the handle @misshayleypaige, and take any action

                    necessary to enable JLM to regain access and control of said accounts including

                    linking the accounts to one of JLM’s email addresses and/or phone numbers and/or

                    other social media accounts as requested; and

            IT IS ORDERED, that, sufficient reason having been shown therefor, pending the hearing

 and determination of JLM’s application for a preliminary injunction, pursuant to Rule 65, Fed. R.

 Civ. P.,

            A.      Defendant, along with her officers, agents, servants, employees, and attorneys and

 all other persons who are in active concert or participation with them, enjoined from taking any of

 the following actions:

                 (i) from making any changes to any of the JLM HP Social Media Accounts, including

            but not limited to changing the name of the handles on the accounts, posting any new

            content thereto and/or deleting or altering any content located therein, from tagging any

            other posts, users or accounts, transferring any such accounts from Defendant to any other

            person except to JLM, or communicating with third parties through same for commercial

            purposes, without the express written permission of Plaintiff’s chief executive officer,
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         Joseph L. Murphy; and

              (ii) from utilizing or taking any action to gain exclusive control over, any of the JLM

         HP Social Media Accounts, without the express written permission of Plaintiff’s chief

         executive officer, Joseph L. Murphy; and

              (iii) from taking any action that breaches JLM’s Employment Agreement by using any

         of the Designer’s Name, Trademarks, or any confusingly similar marks or names in trade

         or commerce, without the express written permission of Plaintiff’s chief executive officer,

         Joseph L. Murphy; and

              (iv) using any of the Designer’s Names, Trademarks or any confusingly similar term to

         endorse, advertise or promote the products and/or services of herself or others directly or

         indirectly, including on social media and/or in television or media appearances, without

         the express written permission of Plaintiff’s chief executive officer, Joseph L. Murphy; and

              (v) from using, or authorizing third parties to use, the Designer’s Names, Trademarks

         or any confusingly similar term, without the express written permission of Plaintiff’s chief

         executive officer, Joseph L. Murphy; and

         B.      ordering that within 24 hours of this order and during the pendency of this action,

 Defendant shall deliver to JLM’s attorneys the current login credentials, including the current

 username and password for the Main IG Account, the Pinterest account and the TikTok account

 with the handle @misshayleypaige, and take any action necessary to enable JLM to regain access

 and control of said accounts including linking the accounts to one of JLM’s email addresses and/or

 phone numbers and/or other social media accounts as requested; and

         IT IS HEREBY ORDERED that security in the amount of $200,000.00 be posted by the

 Plaintiff

 by the 21st day of December, 2020 at 2:00 p.m. of that day; and it is further
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         ORDERED that personal service of a copy of this order and Plaintiff’s moving papers upon

 the Defendant or Defendant’s counsel by federal express on or before December 21, 2020,

 shall be deemed good and sufficient service thereof; and it is further

         ORDERED, that answering papers be served on Adelman Matz P.C., 780 Third Avenue,

 14th Floor, New York, New York 10017, with a copy by email to sarah@adelmanmatz.com, and

 filed with the Court on or before 4:00 p.m. on the 12th day of January, 2021, and that Plaintiff’s

 reply papers be served on Defendants’ counsel, with a copy by email, and filed with the Court on

 or before 4:00 p.m. on the 22nd day of January 2021. Courtesy copies of all submissions shall be

 provided for Chambers via the email address specified on the Court website for use for Chambers

 communications during the COVID-19 emergency situation.

         All direct testimony shall be in the form of affidavits filed with the parties’ principal

 submissions. Any live testimony at the preliminary injunction hearing will be limited to cross-

 examination. The parties are directed to meet and confer and, by 12:00 p.m. noon on January 27,

 2021, file with the Court (1) a consolidated and bookmarked (to indicate exhibit numbers) pdf

 containing all of the exhibits to be relied upon for the hearing (cross-referenced to the submissions

 in which they were originally filed), and (2) a joint submission identifying the witnesses to be

 presented for cross-examination, the parties’ agreed protocols for presentation of testimony

 remotely, and the time proposed to be allocated for each witness, and the time proposed to be

 allocated for argument.

 DATED: New York, New York
        December 16, 2020
              Time issued: 5:04pm
                                    /s/ Laura Taylor Swain
                                UNITED STATES DISTRICT JUDGE




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           EXHIBIT 1
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                                       JLM OWNED SOCIAL MEDIA ACCOUNTS FOR ALL HAYLEY PAIGE BRANDS


       Brand               Platform                         Handle                                                  Account Link


    Hayley Paige           Instagram                     misshayleypaige                             https://www.instagram.com/misshayleypaige/



    Hayley Paige           Facebook              Hayley Paige / HayleyPaigeBridal                    https://www.facebook.com/HayleyPaigeBridal



    Hayley Paige           Pinterest              Hayley Paige / hayleypaigejlm                    https://www.pinterest.com/hayleypaigejlm/_saved/


    Hayley Paige           Pinterest                     misshayleypaige                           https://www.pinterest.com/misshayleypaige/_saved/


    Hayley Paige           Youtube                      Miss Hayley Paige           https://www.youtube.com/channel/UCJR_76xqVd6ihrlUm3AL-qg?view_as=subscriber


    Hayley Paige            Twitter                      hayleypaige_jlm                                 https://twitter.com/HayleyPaige_JLM


   Blush by Hayley         Instagram                   blushbyhayleypaige                           https://www.instagram.com/blushbyhayleypaige/


   Blush by Hayley         Facebook                   BlushbyHayleyPaige                            https://www.facebook.com/BlushbyHayleyPaige


   Blush by Hayley         Pinterest                       blushbyHP                                https://www.pinterest.com/blushbyHP/_created/


   Blush by Hayley          Twitter                        BlushbyHP                                         https://twitter.com/BlushbyHP


Hayley Paige Occasions     Instagram                  hayleypaigeoccasions                         https://www.instagram.com/hayleypaigeoccasions/


Hayley Paige Occasions     Facebook                        hpoccasions                                  https://www.facebook.com/hpoccasions/


Hayley Paige Occasions      Twitter                     Jim_H_Occasions                                   https://twitter.com/Jim_H_Occasions


La Petite Hayley Paige     Instagram                   lapetitehayleypaige                          https://www.instagram.com/lapetitehayleypaige/


La Petite Hayley Paige     Facebook                    lapetitehayleypaige                           https://www.facebook.com/lapetitehayleypaige
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Holy Matrimoji App (All                           holymatrimoji                    https://www.instagram.com/holymatrimoji/
       Brands)              Instagram

Holy Matrimoji App (All
                            Facebook              HolyMatrimoji                    https://www.facebook.com/HolyMatrimoji
       Brands)

      All Brands             TikTok              misshayleypaige                       https://vm.tiktok.com/ZMJqYv9S6/
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            EXHIBIT 2
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            Trademark                   Country            Registration No.   Registration Date    Classes
BLUSH BY HAYLEY PAIGE           United States of America      6141381           09/01/2020      25 Int.
HAYLEY PAIGE                    United States of America      5858534           09/10/2019      14 Int.
HAYLEY PAIGE                    United States of America      4161091           06/19/2012      25 Int.
HAYLEY PAIGE + DESIGN           United States of America      5368112           01/02/2018      25 Int.
HAYLEY PAIGE + DESIGN           United States of America      5858703           09/10/2019      14 Int.
HAYLEY PAIGE OCCASIONS          United States of America      5276982           08/29/2017      25 Int.
JUST GOT PAIGED                 United States of America      5728141           04/16/2019      41 Int.
LA PETITE HAYLEY PAIGE          United States of America      5698436           03/19/2019      25 Int.
LA PETITE HAYLEY PAIGE + DESIGN United States of America      5698444           03/12/2019      25 Int.
OCCASIONS BY HAYLEY PAIGE       United States of America      4914471           03/08/2016      25 Int.
